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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0107V
                                         UNPUBLISHED


    BERNALEO HENDERSON,                                        Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: January 28, 2022

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                            Stipulation on Damages; Influenza
                                                               (Flu); Guillain-Barré syndrome
                        Respondent.                            (“GBS”).


Alison H. Haskins, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION1

       On January 22, 2019, Bernaleo Henderson filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that as a result of receiving the influenza (“flu”) vaccine
on November 18, 2017, he developed Guillain-Barré syndrome (“GBS”) with residual
effects persisting for more than six months.

      On January 28, 2022, the parties filed the attached joint stipulation, which states
that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.




1 Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            •   A lump sum of $1,836.48, representing compensation for full
                satisfaction of the Government of the Virgin Islands of the United
                States Medicaid lien, in the form of a check payable jointly to Petitioner
                and:

                           Government of the Virgin Islands Medicaid Program
                                  c/o Department of Human Services
                                         VI Medicaid Program
                                      1303 Hospital Ground, Ste 1
                                         St. Thomas, VI 00802

                Petitioner agrees to endorse this payment to the Government of the
                Virgin Islands Medicaid Program;

            •   A lump sum of $12,867.63, representing the balance due on
                Petitioner’s past incurred medical expenses, in the form of a check
                payable jointly to Petitioner and Palm Beach Gardens Medical Center.
                Petitioner agrees to endorse this payment to Palm Beach Gardens
                Medical Center;

            •   A lump sum of $28,000.00, representing the balance due on
                Petitioner’s past incurred medical expenses, in the form of a check
                payable jointly to Petitioner and St. Mary’s Medical Center. Petitioner
                agrees to endorse this payment to St. Mary’s Medical Center; and

            •   A lump sum of $170,000.00 in the form of a check payable to Petitioner.
                This amount represents compensation for all items of damages that
                would be available under Section 15(a). Stipulation at ¶ 8.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                    )
 BERN ALEO HENDERSON,                               )
                                                    )
                Petitioner,                         )
                                                    )    No.19-107V
 V.                                                 )    Chief Special Master Corcoran
                                                    )    ECF
 SECRETARY OF HEALTH AND HUMAN                      )
 SERVICES,                                          )
                                                    )
     Respondent.                                    )
_________________ )

                                            STIPULATION

       The parties hereby stipulate to the following matters:

        1. Bemaleo Henderson ("petitioner") filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenza ("flu"), which vaccine is contained in the Vaccine Injury Table (the "Table"), 42

C.F.R. § 100.3 (a).

       2. Petitioner received his flu immunization on November 18, 2017.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that as a result of receiving the flu vaccine he developed Guillain-

Barre Syndrome ("GBS") and experienced the residual effects of this injury for more than six

months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of his condition.
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       6. Respondent denies that petitioner sustained a GBS Table injury, and denies that

petitioner's alleged GBS and its residual effects were caused-in-fact by his flu vaccine.

Respondent fuither denies that the vaccine caused petitioner any other injury or his current

condition.

       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21 (a)(l ), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

                   a. a lump sum of $1,836.48, representing compensation for full satisfaction
                      of the Government of the Virgin Islands of the United States Medicaid
                      lien, in the form of a check payable jointly to petitioner and:

                               Government of the Virgin Islands Medicaid Program
                               c/o Department of Human Services
                               VI Medicaid Program
                               1303 Hospital Ground, Ste 1
                               St. Thomas, VI 00802

                        Petitioner agrees to endorse this payment to the Government of the
                        Virgin Islands Medicaid Program;

                   b. a lump sum of $12,867.63, representing the balance due on petitioner's
                      past incurred medical expenses, in the form of a check payable jointly to
                      petitioner and Palm Beach Gardens Medical Center. Petitioner agrees to
                      endorse this payment to Palm Beach Gardens Medical Center;

                   c. a lump sum of $28,000.00, representing the balance due on petitioner's
                      past incurred medical expenses, in the form of a check payable jointly to
                      petitioner and St. Mary's Medical Center. Petitioner agrees to endorse this
                      payment to St. Mary's Medical Center; and
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                    d. a lump sum of $170,000.00 in the fonn of a check payable to petitioner.
                       This amount represents compensation for all remaining damages that
                       would be available under42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21 (a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and his attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S. C. § 3 00aa-15 (g), including State compensation programs, insurance policies,

Federal or State health benefits programs ( other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U .S.C. § 300aa-l 5(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U .S.C.

§ 300aa-l 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and
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the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-l 0 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on November 18, 2017,

as alleged by petitioner in his petition for vaccine compensation filed on January 22, 2019, in the

United States Court of Federal Claims as petition No. 19-0 l 07V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.
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        17. This Stipulation shall not be construed as an admission by the United States or the

 Secretary of Health and Human Services that the flu vaccination caused petitioner to suffer GBS

or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

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  Respectfully submitted,


  PETITIONER:


          ~ - --.
  BERNALEO HENDERSON



  ATTORNEY OF RECORD FOR                          AUTHORIZED REPRESENTATIVE
  PETITIONER:                                     OF THE ATTORNEY GENERAL:


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ALISON HASKINS
                                                 ~~ ~
                                                  HEATHER L. PEARLMAN
  MAGLIO CHRISTOPHER & TOALE,   PA                Deputy Director
  1605 Main Street, Suite 710                     Torts Branch
  Sarasota, FL 34236                              Civil Division
  (888) 952-5242                                  U.S. Department of Justice
                                                  P.O. Box 146
                                                  Benjamin Franklin Station
                                                  Washington, DC 20044-0146

 AUTHORIZED REPRESENTATWE                         ATTORNEY OF RECORD FOR
 OF THE SECRETARY OF HEALTH                       RESPONDENT:
 AND HUMAN SERVICES:


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                                                 CAMILLM.COLLETT
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 Dated:   Ol 1 25/ 7/)v?,.
